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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION

 UNITED STATES OF AMERICA                          CRIMINAL ACTION 05-60040-002

 VERSUS                                            JUDGE TUCKER L. MELANÇON

 KEITH ROMAN HENDERSON                             MAGISTRATE JUDGE HANNA

                                           ORDER

        The matter regarding defendant Keith Roman Henderson’s former attorney’s, Charles

 K. Middleton, failure to comply with the Court’s October 25, 2010 Order, R. 165, [Rec. Doc.

 171] was referred to United States Magistrate Judge Patrick J. Hanna for report and

 recommendation. Following a hearing on December 22, 2010, the Magistrate Judge issued

 an oral Report and Recommendation. R. 183. After an independent review of the record, and

 consideration of the objection filed by Keith Roman Henderson, this Court concludes that the

 Magistrate Judge’s report and recommendation is correct and adopts the findings and

 conclusions therein as its own. It is therefore

        ORDERED that no sanctions be imposed on Charles K. Middleton.

        THUS DONE AND SIGNED this 17 th day of January, 2011 in Lafayette, Louisiana.
